     Case: 1:18-cv-05814 Document #: 7 Filed: 08/29/18 Page 1 of 1 PageID #:151

                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Natural Organics, Inc.
                                       Plaintiff,
v.                                                      Case No.: 1:18−cv−05814
                                                        Honorable Ronald A. Guzman
Salud Natural Entrepreneur, Inc.
                                       Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, August 29, 2018:


        MINUTE entry before the Honorable Ronald A. Guzman: The Court orders the
parties to appear for an initial status hearing. All parties shall refer to and comply with
Judge Guzman's requirements for the initial appearance as outlined in Judge Guzman's
case management procedures, which can be found at: www.ilnd.uscourts.gov. Initial status
hearing set for 10/24/2018 at 09:30 AM. Mailed notice (is, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.
For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
